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                    EXHIBIT A




                    EXHIBIT A
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           EXPERT REPORT OF MAXWELL PALMER, PH.D.



   I, Dr. Maxwell Palmer, declare as follows:
     1. My name is Maxwell Palmer. I am currently an Associate Professor of Political Science
        at Boston University. I joined the faculty at Boston University in 2014, after completing
        my Ph.D. in Political Science at Harvard University. I was promoted to Associate
        Professor, with tenure, in 2021. I am also a Civic Tech Fellow in the Faculty of
        Computing & Data Sciences and a Faculty Fellow at the Initiative on Cities. I teach
        and conduct research on American politics and political methodology.
     2. I submitted reports in this matter on March 8, 2023 and March 15, 2024. My qualifica-
        tions are set out in my first report. An updated curriculum vitae is attached to this
        report.
     3. I have been asked by counsel at Fink Bressack to describe the methodology used to
        advise the Michigan Independent Citizens Redistricting Commission (MICRC) with its
        task of redrawing Senate districts in the Wayne County area. I was also asked to opine
        on the Special Master’s evaluation of the ability of Black voters in Senate District 7 to
        elect their preferred candidates under the proposed map.
     4. In advising the MICRC on whether the proposed state senate plans complied with the
        Voting Rights Act, I used the same methodology that I developed in collaboration with
        Dr. Lisa Handley for the state house remedial process in January and February, 2024.
        That methodology was described in detail in my March 15, 2024 report.
     5. We developed two approaches to examine whether Black-preferred candidates would be
        likely to win the Democratic primaries in the proposed district. In the first method, we
        estimated turnout in the Democratic primary. When estimated Black turnout exceeds
        estimated White turnout in the Democratic primary, it is possible for Black voters to
        elect their candidate of choice when they cohesively support one candidate, even if White
        voters are cohesive in their opposition to that candidate. In the second method, we use
        the Michigan voter file and general election results to estimate the number of Black and
        White voters who supported the Democratic candidate in the general election. We call
        this group the “Democratic Primary Pool,” and they represent the set of Democratic
        voters who could be potentially mobilized to vote in the Democratic primary. When
        there are more Black voters than White voters in this group, it suggests that there is
        a sufficiently large population of Black Democratic to nominate the Black-preferred
        candidate in the primary if they cohesively support a single candidate.
     6. Both of these methods rely on a conservative assumption that Black voters cohesively
        support a single candidate and that White voters cohesively support a single candidate,
        such that the primary contest is highly polarized. If White voters are less cohesive

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          than Black voters, then these districts would elect Black-preferred candidates with
          lower levels of Black voter turnout in the primary. Additionally, it is in two-candidate
          highly-polarized primaries like these where performance can most clearly be analyzed.
          When there are many candidates or when voting is less polarized, there may not
          be identifiable Black-preferred and White-preferred candidates, and the performance
          question is not clearly answerable. In my first report in this matter I examined many
          cases of primaries where the preferred candidates are not clear, or where there were not
          preferred candidates.
      7. In the July 12, 2024, “Report of the Reviewing Special Master,” Dr. Grofman uses the
         VRA analysis of the Crane A1 map to assess performance of Senate District 7 (p.13,
         at 6). Dr. Grofman writes “The Commission labels District 7 an additional (fourth)
         realistic opportunity to elect district, because, by their estimates, African American
         potential voters in the Democratic primary outnumber potential non-African American
         voters in that primary. But the margin they estimate is very small (31.2% vs. 30.6%).”
         In this analysis, Dr. Grofman relies on the second measure of VRA performance, the
         Democratic primary pool, alone. However, the first measure, estimated turnout in the
         2018 and 2022 primary elections, provides further evidence that SD 7 is likely to perform
         as an opportunity to elect district. I estimate that in the 2018 Democratic primary, 54%
         of the voters were Black and 41% of the voters were White, and in the 2022 Democratic
         primary, 50% of the voters were Black and 45% of the voters were White. In both
         elections, Black voters made up a larger share of the Democratic primary electorate
         than White voters. Therefore, in a polarized election where Black voters cohesively
         support one candidate and White voters cohesively support a different candidate, Black
         voters would have the opportunity to elect their preferred candidate in a Democratic
         primary with similar levels of turnout.
      8. Both metrics for VRA performance, estimated Democratic primary turnout and esti-
         mated Democratic primary pool, are valuable for assessing the ability of Black voters
         in SD 7 to elect their candidates of choice. As described in my March 15, 2024 report,
         these metrics are calculated using different data sources, and reflect different approaches
         towards measuring opportunity to elect.1 The fact that both metrics indicate that SD
         7 would perform as an opportunity to elect district for Black voters indicates that,
         despite the narrow margin highlighted by Dr. Grofman in the Democratic primary pool
         result, Black voters are likely to outnumber White voters in Democratic primaries in
         this district.




      1
        The Democratic primary turnout metric relies on past primary election turnout data and census data to
   estimate turnout rates by race in Democratic primaries in each county. The Democratic primary pool metric
   uses voter registration data to estimate the race of each registered voter in the district, and combines that
   with general election results to estimate the number of Democratic voters of each race who could participate
   in the primary.


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   I reserve the right to supplement my report in this case in light of additional facts, testimony,
   and/or materials that may come to light.
   I declare under penalty of perjury that the foregoing is true and correct to the best of my
   knowledge and belief.




   Maxwell Palmer


   Executed this 18th day of July, 2024, at Arlington, Massachusetts.




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   Maxwell Palmer
   CONTACT        Department of Political Science          E-mail: mbpalmer@bu.edu
                  Boston University                        Website: www.maxwellpalmer.com
                  232 Bay State Road                       Phone: (617) 358-2654
                  Boston, MA 02215

   APPOINTMENTS   Boston University, Boston, Massachusetts
                     Associate Professor, Department of Political Science, 2021–Present
                        Associate Chair, Dept. of Political Science, July 2023–Present
                        Civic Tech Fellow, Faculty of Computing & Data Sciences, 2021–Present
                        Faculty Fellow, Initiative on Cities, 2019–Present
                        Director of Advanced Programs, Dept. of Political Science, July 2020–June
                        2023
                     Assistant Professor, Department of Political Science, 2014–2021
                        Junior Faculty Fellow, Hariri Institute for Computing, 2017–2020

   EDUCATION      Harvard University, Cambridge, Massachusetts
                     Ph.D., Political Science, May 2014.
                     A.M., Political Science, May 2012.

                  Bowdoin College, Brunswick, Maine
                     A.B., Mathematics & Government and Legal Studies, May 2008.

   BOOK           Neighborhood Defenders: Participatory Politics and America’s Housing Crisis (with
                  Katherine Levine Einstein and David M. Glick). 2019. New York, NY: Cambridge
                  University Press.
                     – Selected chapters republished in Political Science Quarterly.
                     – Reviewed in Perspectives on Politics, Political Science Quarterly, Economics
                       21, Public Books, City Journal, and Urban Studies.
                     – Covered in Vox’s “The Weeds” podcast, CityLab, Slate’s “Gabfest,” Curbed,
                       Brookings Institution Up Front.

   REFEREED       Einstein, Katherine Levin and Maxwell Palmer. Forthcoming. “How Affordable
   ARTICLES       Housing Can Exclude: The Political Economy of Subsidized Housing.” Journal of
                  Political Institutions and Political Economy.




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                  litical Analysis.

                  de Benedictis-Kessner, Justin and Maxwell Palmer. 2023. “Driving Turnout: The
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                  Palmer, Stacy Fox, and Monica L. Wang. 2020. “Perceptions of Public Health Pri-
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                  Einstein, Katherine Levine, David M. Glick, and Maxwell Palmer. 2020. “Can
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                  Participates in Local Government? Evidence from Meeting Minutes.” Perspectives
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                      – Winner of the Heinz Eulau Award, American Political Science Association,
                         2020.

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   POLICY         Glick, David M., Katherine Levine Einstein, and Maxwell Palmer. 2023. 2022
   REPORTS        Menino Survey of Mayors: Economic Opportunity, Poverty, and Well-Being. Re-
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                  Menino Survey of Mayors: Mayors and the Climate Crisis. Research Report.
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                  Cities.

                  Glick, David M., Katherine Levine Einstein, Maxwell Palmer, and Stacy Fox. 2020.
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                  Palmer, Maxwell, Katherine Levine Einstein, and David Glick. 2020. Counting
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                  sity Initiative on Cities.

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                  Wuesthoff. 2020. COVID-19 Housing Policy. Research Report. Boston Univer-
                  sity Initiative on Cities.

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                  on Cities.

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                  Boston University Initiative on Cities.

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                 Survey of Mayors.” Research Report. Boston University Initiative on Cities.

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                 Palmer, Maxwell and Benjamin Schneer. 2015. “How and why retired politicians
                 get lucrative appointments on corporate boards. “ The Washington Post, Monkey
                 Cage Blog.

   CURRENT       “Descended from Immigrants and Revolutionists: How Family Immigration His-
   PROJECTS      tory Shapes Legislative Behavior in Congress” (with James Feigenbaum and Ben-
                 jamin Schneer). R&R at Quarterly Journal of Economics.

                 “When are Mayors Polarized?” (with Katherine Levine Einstein and David M.
                 Glick)

                 “The Gray Vote: How Older Home-Owning Voters Dominate Local Elections.”
                 (with Katherine Levine Einstein, Ellis Hamilton, and Ethan Singer).

                 “Durable Majority Gerrymanders: Where Partisan Gerrymandering can Displace
                 Democracy” (with Benjamin Schneer)

                 “Who Should Make Decisions? Public Perceptions of Democratic Inclusion in
                 Housing Policy.” (With Justin de Benedictis-Kessner and Katherine Levine Ein-
                 stein).

                 “Renters in an Ownership Society: Property Rights, Voting Rights, and the Mak-
                 ing of American Citizenship.” Book Project. With Katherine Levine Einstein.

                 “Menino Survey of Mayors 2023.” Co-principal investigator with David M. Glick
                 and Katherine Levine Einstein.

   GRANTS        The Boston Foundation Grant. “2024 Greater Boston Housing Report Card” (Co-
   AND AWARDS    principal investigator). 2024. $79,600.

                 The Rockefeller Foundation, “Menino Survey of Mayors” (Co-principal investi-
                 gator). 2021–2024. $355,000.



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                 The Boston Foundation Grant. “2022 Greater Boston Housing Report Card” (Co-
                 principal investigator). 2022. $70,000.

                 American Political Science Association, Heinz Eulau Award, for the best article
                 published in Perspectives on Politics during the previous calendar year, for “Who
                 Participates in Local Government? Evidence from Meeting Minutes.” (with Kather-
                 ine Levine Einstein and David M. Glick). 2020.

                 Boston University Initiative on Cities, COVID-19 Research to Action Seed Grant.
                 “How Are Cities Responding to the COVID-19 Housing Crisis?” 2020. $8,000.

                 The Rockefeller Foundation, “Menino Survey of Mayors” (Co-principal investi-
                 gator). 2017. $325,000.

                 Hariri Institute for Computing, Boston University. Junior Faculty Fellow. 2017–
                 2020. $10,000.

                 The Rockefeller Foundation, “2017 Menino Survey of Mayors” (Co-principal in-
                 vestigator). 2017. $100,000.

                 The Center for Finance, Law, and Policy, Boston University, Research Grant for
                 “From the Capitol to the Boardroom: The Returns to Office from Corporate Board
                 Directorships,” 2015.

                 Senator Charles Sumner Prize, Dept. of Government, Harvard University. 2014.
                    Awarded to the best dissertation “from the legal, political, historical, economic, so-
                    cial or ethnic approach, dealing with means or measures tending toward the pre-
                    vention of war and the establishment of universal peace.”

                 The Center for American Political Studies, Dissertation Research Fellowship on
                 the Study of the American Republic, 2013–2014.

                 The Tobin Project, Democracy and Markets Graduate Student Fellowship, 2013–
                 2014.

                 The Dirksen Congressional Center, Congressional Research Award, 2013.

                 The Institute for Quantitative Social Science, Conference Travel Grant, 2014.

                 The Center for American Political Studies, Graduate Seed Grant for “Capitol Gains:
                 The Returns to Elected Office from Corporate Board Directorships,” 2014.

                 The Institute for Quantitative Social Science, Research Grant, 2013.



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                   Bowdoin College: High Honors in Government and Legal Studies; Philo Sherman
                   Bennett Prize for Best Honors Thesis in the Department of Government, 2008.

   SELECTED        “How Affordable Housing Can Exclude: The Political Economy of Subsidized
   PRESENTATIONS   Housing.” Political Economy of Housing Conference, University of Southern Cal-
                   ifornia, Sol Price School of Public Policy, 2024.

                   “A Partisan Solution to Partisan Gerrymandering: The Define-Combine Proce-
                   dure.” MIT Election Data and Science Lab, 2020.

                   “Who Represents the Renters?” Local Political Economy Conference, Washing-
                   ton, D.C., 2019.

                   “Housing and Climate Politics,” Sustainable Urban Systems Conference, Boston
                   University 2019.

                   “Redistricting and Gerrymandering,” American Studies Summer Institute, John
                   F. Kennedy Presidential Library and Museum, 2019.

                   “The Participatory Politics of Housing,” Government Accountability Office Sem-
                   inar, 2018.

                   “Descended from Immigrants and Revolutionists: How Immigrant Experience
                   Shapes Immigration Votes in Congress,” Congress and History Conference, Prince-
                   ton University, 2018.

                   “Identifying Gerrymanders at the Micro- and Macro-Level.” Hariri Institute for
                   Computing, Boston University, 2018.

                   “How Institutions Enable NIMBYism and Obstruct Development,” Boston Area
                   Research Initiative Spring Conference, Northeastern University, 2017.

                   “Congressional Gridlock,” American Studies Summer Institute, John F. Kennedy
                   Presidential Library and Museum, 2016.

                   “Capitol Gains: The Returns to Elected Office from Corporate Board Director-
                   ships,” Microeconomics Seminar, Department of Economics, Boston University,
                   2015.

                   “A Two Hundred-Year Statistical History of the Gerrymander,” Congress and His-
                   tory Conference, Vanderbilt University, 2015.




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                      “A New (Old) Standard for Geographic Gerrymandering,” Harvard Ash Center
                      Workshop: How Data is Helping Us Understand Voting Rights After Shelby County,
                      2015.

                      “Capitol Gains: The Returns to Elected Office from Corporate Board Director-
                      ships,” Boston University Center for Finance, Law, and Policy, 2015.

                      “Capitol Gains: The Returns to Elected Office from Corporate Board Director-
                      ships,” Bowdoin College, 2014.

                      American Political Science Association: 2013, 2014, 2015, 2016, 2018, 2019, 2020,
                      2022
                      Midwestern Political Science Association: 2012, 2013, 2014, 2017, 2019, 2023
                      Southern Political Science Association: 2015, 2018
                      European Political Science Association: 2015

   EXPERT         Bethune-Hill v. Virginia (3:14-cv-00852-REP-AWA-BMK), U.S. District Court for
   TESTIMONY      the Eastern District of Virginia. Prepared expert reports and testified on racial
   AND CONSULTING predominance and racially polarized voting in selected districts of the 2011 Vir-
                  ginia House of Delegates map. (2017)

                      Thomas v. Bryant (3:18-CV-441-CWR-FKB), U.S. District Court for the Southern
                      District of Mississippi. Prepared expert reports and testified on racially polarized
                      voting in a district of the 2012 Mississippi State Senate map. (2018–2019)

                      Chestnut v. Merrill (2:18-cv-00907-KOB), U.S. District Court for the Northern
                      District of Alabama. Prepared expert reports and testified on racially polarized
                      voting in selected districts of the 2011 Alabama congressional district map. (2019)

                      Dwight v. Raffensperger (No. 1:18-cv-2869-RWS), U.S. District Court for the
                      Northern District of Georgia. Prepared expert reports and testified on racially
                      polarized voting in selected districts of the 2011 Georgia congressional district
                      map. (2019)

                      Bruni, et al. v. Hughs (No. 5:20-cv-35), U.S. District Court for the Southern Dis-
                      trict of Texas. Prepared expert reports and testified on the use of straight-ticket
                      voting by race and racially polarized voting in Texas. (2020)

                      Caster v. Merrill (No. 2:21-cv-1536-AMM), U.S. District Court for the Northern
                      District of Alabama. Prepared expert report and testified on racially polarized
                      voting in selected districts of the 2021 Alabama congressional district map. (2022)

                      Pendergrass v. Raffensperger (1:21-CV-05339-SCJ), U.S. District Court for the North-
                      ern District of Georgia. Prepared expert reports and testified on racially polarized


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                 voting in selected districts of the 2021 Georgia congressional district map. (2022)

                 Grant v. Raffensperger (1:22-CV-00122-SCJ), U.S. District Court for the North-
                 ern District of Georgia. Prepared expert reports and testified on racially polar-
                 ized voting in selected districts of the 2021 Georgia state legislative district maps.
                 (2022)

                 Galmon, et al. v. Ardoin (3:22-cv-00214-SDD-SDJ), U.S. District Court for the
                 Middle District of Louisiana. Prepared expert reports and testified on racially
                 polarized voting for the 2021 Louisiana congressional district map. (2022)

                 United States v. Robert Bowers (2:18-cr-00292-DWA), U.S. District Court for the
                 Western District of Pennsylvania. Prepared expert reports on the demographics
                 of the voter registriation list and composition of the master jury wheel. (2020–
                 2023)

                 Agee, et al. v. Benson, et al. (1:22-CV-00272-PLM-RMK-JTN), U.S. District Court
                 for the Western District of Michigan. Prepared expert report and testified on
                 racially polarized voting and racial predominance in the Michigan House and
                 Senate maps adopted by the Michigan Independent Citizens Redistricting Com-
                 mission. (2023)

                 In Re: Georgia Senate Bill 202 (1:12-MI-55555-JPB), U.S. District Court for the
                 Northern District of Georgia. Prepared expert report and testified on demo-
                 graphics and racially polarized vboting in Georgia. (2023)

                 Vet Voice Foundation, et al., v. Hobbs, et al. (No. 22-2-19384-1 SEA), King County
                 Superior Court, Washington. Prepared expert reports and testified on ballots re-
                 jected for non-matching signatures in Washington. (2023)

                 Vet Voice Foundation, et al., v. Griswold (No. 2022CV033456), District Court, City
                 and County of Denver, State of Colorado. Prepared expert reports and testified
                 on ballots rejected for non-matching signatures in Colorado. (2023)

                 ”Brief Of Political Science Professors As Amici Curiae In Support Of Appellees,”
                 in the case of Alexander vs. South Carolina State Conference of the NAACP, in the
                 Supreme Court of the United States (No. 22-807). (with Stephen Ansolabehere,
                 Bruce E. Cain, James M. Snyder, Jr., and Charles Stewart III)

                 Racially Polarized Voting Consultant, Virginia Redistricting Commission, August
                 2021.

                 The General Court of the Commonwealth of Massachusetts, Joint Committee on
                 Housing, Hearing on Housing Production Legislation. May 14, 2019. Testified on
                 the role of public meetings in housing production.

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   TEACHING      Boston University
                    – Introduction to American Politics (PO 111; Fall 2014, Fall 2015, Fall 2016,
                      Fall 2017, Spring 2019, Fall 2019, Fall 2020)
                    – Congress and Its Critics (PO 302; Fall 2014, Spring 2015, Spring 2017, Spring
                      2019)
                    – Voting Rights (PO 336; Spring 2024)
                    – Data Science for Politics (PO 399; Spring 2020, Spring 2021, Fall 2021, Fall
                      2022, Fall 2023)
                    – Formal Political Theory (PO 501; Spring 2015, Spring 2017, Fall 2019, Fall
                      2020)
                    – American Political Institutions in Transition (PO 505; Spring 2021, Fall 2021)
                    – Prohibition (PO 540; Fall 2015, Fall 2022)
                    – Political Analysis (Graduate Seminar) (PO 840; Fall 2016, Fall 2017)
                    – Graduate Research Workshop (PO 903/4; Fall 2019, Spring 2020)
                    – Spark! Civic Tech Research Design Workshop (CDS DS 290; Spring 2023)
                    – Spark! Civic Tech Toolkit Workshop (CDS DS 292; Spring 2023)

   SERVICE       Boston University
                    – Research Computing Governance Committee, 2021–.
                    – Initiative on Cities Faculty Advisory Board, 2020–2022.
                    – Undergraduate Assessment Working Group, 2020-2021.
                    – College of Arts and Sciences
                         – Ad Hoc Committee on the CAS BA-Level Curriculum, 2023.
                         – CAS Conduct Liaison, 2023–.
                         – Search Committee for the Faculty Director of the Initiative on Cities,
                           2020–2021.
                         – General Education Curriculum Committee, 2017–2018.
                    – Department of Political Science
                         – Associate Chair, 2023–.
                         – Director of Advanced Programs (Honors & B.A./M.A.). 2020–2023.
                         – Political Methodology Search Committee, 2021.
                         – Delegate, Chair Selection Advisory Process, 2021.
                         – Comprehensive Exam Committee, American Politics, 2019, 2023.
                         – Comprehensive Exam Committee, Political Methodology, 2016, 2017,
                           2021, 2022.
                         – American Politics Search Committee, 2017.

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                           – American Politics Search Committee, 2016.
                           – Graduate Program Committee, 2014–2015, 2018–2019, 2020–2021.


                 Co-organizer, Boston University Local Political Economy Conference, August 29,
                 2018.

                 Editorial Board Member, Legislative Studies Quarterly, 2020–2023

                 Malcolm Jewell Best Graduate Student Paper Award Committee, Southern Polit-
                 ical Science Association, 2019.

                 Reviewer: American Journal of Political Science; American Political Science Review;
                 Journal of Politics; Quarterly Journal of Political Science; Science; Political Analy-
                 sis; Review of Economics and Statistics; Legislative Studies Quarterly; Public Choice;
                 Political Science Research and Methods; Journal of Law, Economics and Organiza-
                 tion; Election Law Journal; Journal of Empirical Legal Studies; Urban Affairs Review;
                 Scientific Data; Applied Geography; PS: Political Science & Politics; Cambridge Uni-
                 versity Press; Oxford University Press.

                 Elected Town Meeting Member, Town of Arlington, Mass., Precinct 2. April
                 2021–Present.

                 Arlington Election Reform Committee Member, August 2019–April 2022.

                 Coordinator, Harvard Election Data Archive, 2011–2014.

   OTHER         Charles River Associates, Boston, Massachusetts                            2008–2010
   EXPERIENCE
                 Associate, Energy & Environment Practice
                 Economic consulting in the energy sector for electric and gas utilities, private equity,
                 and electric generation owners. Specialized in Financial Modeling, Resource Planning,
                 Regulatory Support, Price Forecasting, and Policy Analysis.




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